

People v Quiroz (2024 NY Slip Op 51464(U))



[*1]


People v Quiroz (Richard)


2024 NY Slip Op 51464(U)


Decided on October 29, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 29, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570180/21

The People of the State of New York Respondent,
againstRichard Quiroz, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Guy H. Mitchell, J.), rendered March 23, 2021, convicting him, upon his plea of guilty, of attempted endangering the welfare of a child, and imposing sentence.




Per Curiam.
Judgment of conviction (Guy H. Mitchell, J.), rendered March 23, 2021, affirmed.
Even if defendant's jurisdictional claim had merit, the appropriate remedy in this case would be to vacate the plea and remand for further proceedings on the felony complaint. Defendant, however, only requests dismissal (see People v Torrence, 70 Misc 3d 136[A], 2021 NY Slip Op 50045[U][App Term, 1st Dept 2021], lv denied 37 NY3d 961 [2021]). Since we do not find dismissal to be appropriate, we affirm on this basis (see People v Teron, 139 AD3d 450 [2016]).
All concur.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
Clerk of the CourtDecision Date: October 29, 2024









